UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CITY OF ALMATY, KAZAKHSTAN and BTA
BANK JSC,
                                         No. 15-CV-05345(AJN)
               Plaintiffs,

               -against-

MUKHTAR ABLYAZOV, VIKTOR
KHRAPUNOV, ILYAS KHRAPUNOV, and
TRIADOU SPV S.A.,

              Defendants.




   VIKTOR AND ILYAS KHRAPUNOV’S MEMORANDUM IN OPPOSITION TO
        BTA/ALMATY’S MOTION FOR RELIEF FROM THE COURT’S
             DECEMBER 23, 2016 ORDER DISMISSING THEIR
       RICO CLAIMS IN LIGHT OF NEW CONTROLLING AUTHORITY



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          Defendants Viktor and Ilyas Khrapunov (the “Khrapunovs”) respectfully submit this

memorandum of law in opposition to the motion of the City of Almaty and BTA Bank

(“BTA/Almaty”) for relief from the Court’s December 23, 2016 order dismissing their RICO

claims.

                                PRELIMINARY STATEMENT

          BTA/Almaty’s motion to revisit this Court’s decision dismissing the RICO claims should

be denied because the Bascuñán case held that the United States-based laundering of money

stolen from a foreign plaintiff with no ties to this country does not transform a foreign injury into

a domestic one.      Bascuñán v. Elsaca, 874 F.3d 806, 810 (2d Cir. 2017) (“Bascuñán II”).

BTA/Almaty asks the Court to look again at what it claims were injuries suffered to property

interests in New York, but the Court already considered and rejected these arguments and

nothing in the Bascuñán decision calls the Court’s analysis into question.      In other words, the

Court’s decision is consistent with Bascuñán and should not be disturbed.             See generally

December 23, 2016 Memorandum & Order, ECF No. 257 (the “RICO Order”). 1 Alternatively,

should it find that BTA/Almaty have plausibly alleged a domestic injury, the Court should

decline to reinstate the RICO claims against Viktor Khrapunov for the reasons argued in our

motion to dismiss the amended crossclaims.

                                          ARGUMENT

          The standard for granting a motion for reconsideration “is strict,” because

“reconsideration of a previous order is an extraordinary remedy to be employed sparingly in the

interests of finality and conservation of scarce judicial resources.” Farmer v. United States, No.


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   The RICO Order is reported as City of Almaty, Kazakhstan v. Ablyazov, 226 F. Supp. 3d 272
(S.D.N.Y. 2016).
12-CR-758, 2017 WL 3448014, at *1-2 (S.D.N.Y. Aug. 10, 2017) (Nathan, J.) (citing Analytical

Surveys, Inc. v. Tonga Partners, L.P., 684 F.3d 36, 52 (2d Cir. 2012)); accord Fragin v. Mezei,

No. 09 CIV. 1028, 2012 WL 6628021, at *1 (S.D.N.Y. Dec. 20, 2012) (Nathan, J.); CF 135 Flat

LLC v. Triadou SPV N.A., No. 15-CV-5345 , 2016 WL 3481061, at *1 (S.D.N.Y. June 21, 2016).

“The purpose of the rule is to ensure the finality of decisions and to prevent the practice of a

losing party examining a decision and then plugging the gaps of a lost motion with additional

matters.” CF 135 Flat LLC, 2016 WL 3481061, at *1; TufAmerica, Inc. v. Diamond, No. 12-

CV-3529, 2016 WL 3866578, at *1 (S.D.N.Y. July 12, 2016) (Nathan, J.). A motion for

reconsideration “is not designed to allow wasteful repetition of arguments already briefed,

considered and decided.” Fragin, 2012 WL 6628021, at *1.

       Nor may a motion “be used to advance new facts, issues or arguments not previously

presented to the Court, [or] as a vehicle for re-litigating issues already decided by the Court.”

TufAmerica, 2016 WL 3866578, at *1. Therefore, a party moving for reconsideration “cannot

assert new arguments . . . which were not before the court on the original motion.” CF 135 Flat

LLC, 2016 WL 3481061, at *1 (citing Caribbean Trading & Fid. Corp. v. Nigerian Nat’l

Petroleum Corp., 948 F.2d 111, 115 (2d Cir. 1991)); Greer v. Mehiel, No. 15-CV-6119, 2017

WL 128520, at *5 (S.D.N.Y. Jan. 12, 2017) (Nathan, J.); see also Tlapanco v. Elges, No. 15-CV-

2852, 2017 WL 4329789, at *3 (S.D.N.Y. Sept. 14, 2017) (Nathan, J.) (court may “deem

untimely an argument—even a significant argument—if a party fail[ed] to raise it prior to a

motion for reconsideration”).

       A motion for reconsideration should be granted only when the party “identifies an

intervening change of controlling law, the availability of new evidence, or the need to correct a

clear error or prevent manifest injustice.” Farmer, 2017 WL 3448014, at *1–2 (citing Kolel Beth



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Yechiel Mechil of Tartikov, Inc. v. YLL Irrevocable Trust, 729 F.3d 99, 104 (2d Cir. 2013));

TufAmerica, Inc, 2016 WL 3866578, at *1.

I.       BASCUÑÁN II CONFIRMS THAT BTA/ALMATY’S RICO CLAIMS WERE
         PROPERLY DISMISSED.

         BTA/Almaty ask the Court to revisit its RICO Order in light of what they say was an

intervening change in controlling law. But Bascuñán II is consistent with the Court’s rationale

and conclusion that the “post-theft investment of embezzled Kazakh funds in U.S.-based real

estate projects do not, without more, constitute plausible allegations of ‘domestic’ injury….” See

Order Denying Leave to take Interlocutory Appeal, ECF No. 304 at 4.

         A.     In Bascuñán II, Alleged Post-Theft Laundering Did Not Transform a
                Foreign Injury into a Domestic One.

         In Bascuñán v. Elsaca, the Second Circuit applied the following rule: “Where the injury

is to tangible property . . . the injury is domestic if the plaintiff’s property was located in the

United States when it was stolen or harmed, even if the plaintiff himself resides abroad.” 874

F.3d 806, 820-21 (2d Cir. 2017). In adopting this standard, the Second Circuit rejected the

Bascuñán district court’s “residency-based test” which focused on where the foreign plaintiff

felt the impact of the economic injury, that is, where the plaintiff “bec[a]me poorer.” Bascuñán

II, 874 F.3d at 814.

         In Bascuñán II, the foreign plaintiff alleged that defendants misappropriated both

property that was located in a foreign location and property that was located in New York:

        In the “Anacapri Scheme” the defendants created an investment fund in Chile that took in
         money from three foreign entities belonging to the plaintiff. After misappropriating
         assets from the Chilean fund, the defendant laundered them in New York and elsewhere.
         874 F.3d at 812.

        In the “Dividend Scheme” the defendants stole dividend payments held in an account in
         Chile and diverted some of them to his personal investment accounts in New York. 874
         F.3d at 811.


                                                3
         In the “New York Trust Account Scheme,” the defendants stole the plaintiff’s funds that
          were held in a trust account in a New York bank. 874 F.3d at 811.

         In the “BCI Scheme,” the defendant stole bearer shares that were stored in a safety
          deposit box in New York. 874 F.3d at 812.

          The Circuit analyzed these four schemes separately and determined that the two schemes

whereby the defendants allegedly misappropriated property that was “physically located” in the

U.S. resulted in a domestic injury but that the two schemes in which the defendants

misappropriated property physically locate elsewhere—the Anacapri and Dividend schemes—

did not result in a domestic injury, even though the stolen funds were laundered in or diverted to

New York. Id. at 819-22.

          The plaintiff in Bascuñán II alleged that after misappropriating assets held in foreign

locations, the defendants laundered those assets through bank accounts in the U.S. The Circuit

rejected the idea that this resulted in a domestic injury. 874 F.3d at 812. It held that where the

only domestic element alleged is that defendants transferred stolen foreign funds to New York,

or laundered stolen money in the United States, “[t]hat is not enough to allege a domestic injury

. . . [even] under a straightforward application of RJR Nabisco,2 as allegations similar to [these]

were levied in RJR Nabisco itself.” 874 F.3d at 818. The Circuit held that “An injury to tangible

property is generally a domestic injury only if the property was physically located in the United

States, and that a defendant’s use of the U.S. financial system to conceal or effectuate his tort

does not, on its own, turn an otherwise foreign injury into a domestic one.” Id. at 819 (emphasis

added). To hold otherwise, the court admonished, “would subvert the intended effect of the

‘domestic injury’ requirement articulated by the RJR Nabisco Court.” Id.




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    RJR Nabisco, Inc. v. European Community, 136 S. Ct. 2090 (2016).
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       B.      The RICO Order is Consistent with Bascuñán II’s Approach to Domestic
               Injury.

       The Bascuñán II approach is consistent with how this Court analyzed BTA/Almaty’s

RICO claims. The Court did not adopt a pure “residency test.” Although it found that a

residency-based approach was “consistent with the Supreme Court’s focus in assessing the

extraterritoriality of Section 1964(c) on injuries ‘suffered overseas,’” it explicitly did not endorse

a rule that would “categorically preclude foreign corporations with business operations or

property interests maintained in the U.S. from bringing RICO actions to recover for injuries to

those assets.” 226 F. Supp. 3d at 284 (citing RJR Nabisco, 136 S. Ct. at 2109). Thus the Court’s

analysis anticipated the approach used in Bascuñán II, where the Second Circuit rejected a

residency-based test that would “mean that foreign plaintiffs may not sue under RICO,” and

adopted a rule that “does not discriminate against foreigners who own property in the United

States [but] ensures that both foreign and domestic plaintiffs can obtain civil RICO’s remedy for

damage to their property, but only if their property was located within the territorial jurisdiction

of the United States.” Bascuñán II, 874 F.3d at 821 (emphasis added).

       This Court, having recognized that foreign plaintiffs may bring RICO claims for injuries

to “business operations or property interests maintained in the U.S.,” 226 F. Supp. 3d at 284,

nevertheless found that BTA/Almaty’s claims do not fall within that description. BTA/Almaty

“are undisputedly both aliens that are not alleged to hold assets or to maintain any operations,

instrumentalities, or other presence in the United States” and they were not “‘working, traveling,

or doing business’ in the U.S. when they incurred their alleged injuries.” Id. BTA/Almaty

clearly “got poorer” in Kazakhstan, not because they resided there, but because the alleged

misappropriations giving rise to this action “occurred within Kazakhstan and targeted only assets

held overseas.” Id.     The Court pointed out that BTA/Almaty’s own characterizations of their


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crossclaims underscore that they seek to redress grievances whose economic impact has been

suffered abroad. Id. (citing FAC ¶¶ 2–3).

       The Court also considered and rejected the argument that the alleged investment of stolen

funds in New York real estate presented the sort of “‘extremely rare’” circumstances under

which injuries allegedly suffered by foreign plaintiffs could be deemed domestic. Id. at 285.

Noting that BTA/Almaty did not allege that “some ‘discrete financial base ... established away

from home” suffered the brunt of the losses, the Court explained that “a plaintiff's mere

‘financial connection to New York’—whether it be in the form of branch offices, investment

activity, or bank accounts—is an insufficient basis to find that a foreign entity suffered injury in

New York.” 226 F. Supp. 3d at 285.       The Court concluded that “the after-the-fact concealment

in the U.S. of funds stolen entirely abroad does not constitute a basis for concluding that

[BTA/Almaty] have alleged injury suffered in the U.S.” Id. This is consistent with Bascuñán II,

which found that funds that were stolen from Chile and laundered in New York were not a

domestic injury. 874 F.3d at 819.

       Because this Court’s Order is consistent with the reasoning of the Second Circuit in

Bascuñán II, that case does not provide grounds for a motion for reconsideration. See In re

Harbinger Capital Partners Funds Inv'r Litig., No. 12 CIV. 1244, 2014 WL 3694991, at *4

(S.D.N.Y. July 7, 2014) (Nathan, J.) (motion for reconsideration denied where intervening

Second Circuit opinion “confirms the correctness” of court’s earlier decision); Arthur Glick

Truck Sales, Inc. v. Stuphen E. Corp., 965 F. Supp. 2d 402, 404–05 (S.D.N.Y. 2013), aff'd sub

nom. Arthur Glick Truck Sales, Inc. v. Travelers Cas. & Sur. Co. of Am., 577 F. App'x 11 (2d

Cir. 2014) (reconsideration is appropriate only where there is an intervening change of

controlling law, “that might reasonably be expected to alter the conclusion reached by the



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court”); Moog, Inc. v. United States, No. MISC. CIV-90-215E, 1991 WL 255371, at *1

(W.D.N.Y. Nov. 21, 1991) (denying motion for reconsideration where respondent has not

pointed to any change in controlling law “which would mandate a different result”).

II.    BASCUÑÁN II FORECLOSES BTA/ALMATY’S ARGUMENT THAT ALLEGED
       POST-THEFT ACTIVITY CAUSED A DOMESTIC RICO INJURY.

       BTA/Almaty try to drive a wedge between Bascuñán II and the RICO Order by arguing

that the Court must disaggregate the embezzled Kazakhstan funds from the funds that were

invested in New York. See BTA/Almaty Br. 9. They claim they had “enforceable property

interests in the United States” from the “moment the defendants invested [BTA/Almaty’s] stolen

money” in the real estate. BTA/Almaty Br. 7. By framing the issue this way, BTA/Almaty

claim that they suffered a domestic racketeering injury distinct from the Kazakhstan theft itself.

Bascuñán II does not support this theory.

       A.      BTA/Almaty’s Theory Is Inconsistent with the Outcome in Bascuñán II.

       BTA/Almaty’s theory is at odds with Bascuñán II’s conclusion that post-theft laundering

activity in the United States does not transform a foreign injury into a domestic one. In

Bascuñán II’s Anacapri Scheme, the defendants, after misappropriating assets from a foreign

fund, “laundered those assets through bank accounts in New York and elsewhere.” 874 F.3d at

812. In the Dividend Scheme, the defendants allegedly diverted a portion of the funds stolen

from the Chilean account “to his personal investment accounts at Morgan Stanley in New York.”

Id. Following BTA/Almaty’s logic, the Bascuñán II plaintiff had enforceable property interests

in these New York funds. See BTA/Almaty Br. 7. The Circuit explained, though, that “the fact

that [defendants] transferred . . . stolen funds to (or through) the United States fails to transform

an otherwise foreign injury into a domestic one.” 874 F.3d at 810.




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       At bottom, the allegations in this case are no different from what the Circuit rejected in

Bascuñán II. The Individual Defendants allegedly channeled a portion of embezzled money

from Kazakhstan into New York real estate to hide and launder those funds. BTA/Almaty Br.

11. If this were enough to state a domestic RICO injury, then the result in Bascuñán II would

have been different. See Bascuñán II 974 F.3d at 818-19 (transferring and laundering funds in

the U.S. “is not enough to allege a domestic injury”). Indeed, the court in Bascuñán II took pains

to note that, like here, “the only domestic connections alleged here were acts of the defendant.”

874 F.3d at 819. “Bascuñán and his relevant property always remained abroad, and these

injuries did not arise from any preexisting connection between Bascuñán and the United States.”

Id. (emphasis added). Accepting BTA/Almaty’s theory would mean that any time proceeds from

a foreign theft were laundered through U.S. entities, even if the only domestic connections were

the acts of the defendants, there would be a domestic RICO injury. Such a result would, as the

Second Circuit put it, “subvert the intended effect of the ‘domestic injury’ requirement

articulated by the RJR Nabisco Court.” Bascuñán II, 874 F.3d at 819.

       B.      This Court Properly Found that BTA/Almaty Has Not Alleged a Distinct,
               United States Injury.

       Bascuñán II does not disturb the Court’s finding that BTA/Almaty have not alleged a

distinct, United States-based injury. 226 F. Supp. 3d at 286. The Court held that the alleged

thefts in Kazakhstan cannot be deemed domestic injuries “purely because they may have been

proximately caused, in part, by after-the-fact money laundering in the United States” and that

“there is no dispute that the purported misappropriations were complete—and the embezzled

funds removed from Kazakhstan—well before the Crossclaim Defendants’ alleged transactions

in the United States.” Id. Thus, “at most they ‘may have concealed, but did not cause’ the losses

in Kazakhstan.”    Id.   The Court specifically addressed BTA/Almaty’s contention that the


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“below-market assignment of [Triadou’s] investment in the Flatotel back to the Chetrit Entities

diminished the value of their property” and found no basis to infer that the Flatotel assignment

injured any property owned by BTA/Almaty. Id. at 286-87.            The Court also held that the

transfer of stolen funds from Triadou to other participants in the alleged RICO enterprises

“cannot plausibly be alleged to have somehow diminished the value of the funds themselves or

to have impaired [BTA/Almaty’s] purported right of recovery.” Id. Thus the Court concluded

that BTA/Almaty had not “plausibly alleged any injury to their property occurring within the

United States.” Id.

       Bascuñán II does not revive BTA/Almaty’s argument. BTA/Almaty argue that the injury

caused by the alleged Kazakhstan embezzlements should be disaggregated from injuries it

suffered to property in the United States, see BTA/Almaty Br. 9, but this is a misreading of

Bascuñán II. There, the Circuit was confronted with four different alleged schemes relating to

four separate categories of stolen property. The court explained that each injury—i.e., the loss of

property in each of the four categories—must be analyzed separately to determine whether any

of them were “domestic.” 874 F.3d at 818.        This aspect of Bascuñán II does not affect the

outcome of this case because, as this Court has already correctly recognized, the only category of

property that was alleged harmed here was the money allegedly taken from Kazakhstan. 226 F.

Supp. 3d at 286.

       BTA/Almaty focus on the Eleventh Circuit’s decision in Maiz v. Virani, 253 F.3d 641,

674 (11th Cir. 2001), but that case provides no reason for this Court to reconsider its RICO

Order. Maiz does not hold, as BTA/Almaty claim, that defendants’ “domestic acts of money

laundering caused [BTA/Almaty] ‘domestic injury,’”            BTA/Almaty Br. 12, because the

domestic injury requirement was not even discussed in Maiz. Maiz stands for the principle that



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laundering profits derived from a U.S. fraud “in order to conceal the existence of those profits

[and] induce [plaintiffs to make] further contributions,” causes a RICO injury where plaintiffs

would likely “have discovered the fraud and withdrawn their funds were it not for the money

laundering and post-investment offenses.” 253 F.3d at 674 (emphasis added). Thus, as this

Court correctly found in the RICO Order, Maiz is a case in which “the concealment of stolen

funds was so critical to facilitating an ongoing theft in the first place that money laundering may

be recognized as having proximately caused some portion of the original injury.” 226 F. Supp.

3d at 285 (emphasis added). In the instant case, there is no allegation that concealment of the

stolen funds in the U.S. was critical to facilitating the theft of the funds in Kazakhstan, which

took place years before.

       C.      BTA/Almaty’s Post-Theft Conversion and Constructive Trust Claims Are
               Not Separate Racketeering Injuries.

       Even assuming that the post-theft conduct could, in this case, stand apart from the alleged

Kazakhstan embezzlement, BTA/Almaty have not stated an independent racketeering injury by

alleging either an impairment of their right to seek a constructive trust or conversion.

       BTA/Almaty’s principal argument on this point is that the Court misapplied a 1985 case

from the Eight Circuit when it ruled that the Defendants’ alleged below-market assignments in

real estate investments did not plausibly injure BTA/Almaty’s property. BTA/Almaty Br. 17;

226 F. Supp. 3d at 287. Noting that it was “unclear that [BTA/Almaty] had a cognizable

property or business interest in the Flatotel itself,” 226 F.Supp.3d at 287, the Court cited United

States v. Brimberry, 779 F.2d 1339, 1348 (8th Cir. 1985), for the principle that “[w]hen an

embezzler purchases property with stolen funds, the property may be subjected to a constructive

construct in favor of the victim” but “[u]ntil a court grants the victim such a constructive trust




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remedy,” the victim “merely has a right to seek” it and the “existence of such a right does not

establish an interest in the specific property.” 226 F. Supp. 3d at 287.

       BTA/Almaty argue that the Court erred in this analysis because Brimberry also stated

that “A right to seek a constructive trust over specific property is a property interest in itself,”

779 F.2d at 1348. BTA/Almaty claim that the Court “omit[ted]” this language in the RICO

Order and that the phrase is “absolutely critical” to their case. BTA/Almaty Br. 17. This

argument is unavailing because the Court gave BTA/Almaty the benefit of the doubt on this

point. It assumed for argument’s sake that BTA/Almaty had a property interest in the Flatotel

project but nevertheless found that they “do not plausibly allege that the assignment itself in any

way decreased the intrinsic value of the Flatotel project,” and that “the transfer of stolen funds

(effected by the assignment) from Triadou to other participants in the alleged RICO enterprises

cannot plausibly be alleged to have somehow diminished the value of the funds themselves or to

have impaired [BTA/Almaty’s] purported right of recovery.” 226 F. Supp. 3d at 287. Nothing

in Brinberry or Bascuñán II changes this analysis. 3

       Moreover, in their Amended Crossclaims, BTA/Almaty described the alleged below-

market assignment of Triadou’s interest in the Flatotel project to the Chetrit Group, and included

this in a list of the myriad alleged RICO predicate acts. See, e.g., ECF No. 219 at ¶¶ 118,

133(k). But nowhere do BTA/Almaty allege that the assignment itself decreased the intrinsic

value of the Flatotel project, or that the transfer of stolen funds from Triadou to other participants

in the alleged RICO enterprises diminished the value of the funds themselves or impaired their



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 Brimberry is not a RICO case, and does not involve whether a foreign plaintiff suffered a
domestic injury; in Brimberry, the issue was whether the criminal defendant was guilty of
bankruptcy fraud for concealing assets belonging to a corporation in violation of the Securities
Investor Protection Act.


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purported right of recovery. Rather, these theories are raised for the first time as arguments in

BTA/Almaty’s Supplemental Brief in Response to Defendants’ Motion to Dismiss the RICO

Claims, ECF No. 195, at 10, with no citations to BTA/Almaty’s pleading.4

       In any event, this aspect of BTA/Almaty’s argument is effectively an untimely motion to

reconsider the RICO Order based on Brimberry, not Bascuñán II. Although BTA/Almaty say in

a footnote that the Court “had no reason to identify the location of” their property because it used

“principally the residency-based test,” BTA/Almaty Br. 7 n.5, the Court plainly did consider

whether a supposed impairment of their right to seek a constructive trust over the real estate

investments was a domestic injury. 226 F.Supp.3d at 285-87. BTA/Almaty’s attempt to use a

1985 case to re-litigate that issue is both substantively flawed (for reasons discussed already) and

untimely. See Bank Leumi USA v. Ehrlich, No. 12 CIV. 4423, 2014 WL 12661620, at *1–2

(S.D.N.Y. Feb. 18, 2014) (Nathan, J.).

       BTA/Almaty also argue that they suffered a domestic racketeering injury because they

were allegedly victims of conversion in the United States when the Defendants interfered with

the proceeds of the alleged thefts by disposing of it and/or transferring it among shell entities.

BTA/Almaty Br. 7-8. Their conversion theory has at least two fatal flaws.

       First, to be a RICO injury, the harm must be caused by racketeering activity, Hecht v.

Commerce Clearing House, Inc., 897 F.2d 21, 23 (2d Cir. 1990), and conversion is not a

racketeering predicate. Franzone v. City of New York, No. 13-CV-5282 NG, 2015 WL 2139121,

at *9 (E.D.N.Y. May 4, 2015) (citing Terrell v. Eisner, 104 Fed. App’x 210, 212 (2d Cir.2004)).




4
 Relatedly, BTA/Almaty’s motion is founded in part on facts presented to the Court at the May
2016 attachment hearing. See BTA/Almaty Br. 18 (citing the Court’s order on the attachment
motion, ECF No. 175). The Khrapunovs were not parties to the case at that time and could not
appear to contest those facts.
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       Second, BTA/Almaty’s conversion theory, which as relevant here is premised on post-

theft transfers or dispositions of funds allegedly traceable to the Kazakhstan embezzlement, is

not analytically different than the type of downstream activity that Bascuñán II held is not

enough to cause a domestic injury. Bascuñán II, 874 F.3d at 819. BTA/Almaty acknowledge

that certain United States-based conduct, such as the use of a correspondent bank to effectuate a

dollar-denominated fraud, is insufficient under Bascuñán II, BTA/Almaty Br. 13 n. 7, but the

Bascuñán II rationale is not limited to fleeting correspondent bank transfers. Bascuñán II held

that the use of New York bank accounts to launder stolen funds did not cause a domestic injury.

874 F.3d 806, 818. That too was a conversion in the sense that the Bascuñán II defendants’

alleged laundering constituted an interference or conversion of the plaintiff’s property in the

United States, and there is no meaningful basis to distinguish that conduct from the post-theft

conduct alleged in this case, which is similarly attenuated. This is particularly true because, like

Bascuñán II, none of BTA/Almaty’s claimed injuries arose “from any preexisting connection”

between BTA/Almaty and the United States. Bascuñán II, 874 F.3d at 819.

III.   INTERNATIONAL COMITY COUNSELS IN FAVOR OF DISMISSING THE
       RICO CLAIMS.

       As the Second Circuit held, the rule it adopted in Bascuñán II, which ensures that both

foreign and domestic plaintiffs can obtain civil RICO’s remedy for damage to their property

located within the United States, furthers the goals of international comity by “protect[ing] the

interest each sovereign has in regulating the private property situated in its own territory without

extending the reach of American law or discriminating against foreign plaintiffs,” and therefore

“reduces the possibility of international discord.” 874 F.3d at 821-22.

       In its Order, this Court found that the interests of comity were served by its holding that

BTA/Almaty suffered no domestic injury cognizable by RICO, regardless of any post-theft


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money-laundering. 226 F. Supp. 3d at 287. Analyzing the facts of this case under the Bascuñán

II test also results in a conclusion that there was no domestic injury here. Therefore, the interests

of comity are equally well-served no matter which analysis is used.

IV.    BTA/ALMATY FAIL TO STATE PLAUSIBLE AND TIMELY RICO CLAIMS
       AGAINST VIKTOR KHRAPUNOV.

       Alternatively, should the Court find that BTA/Almaty have plausibly alleged a domestic

injury, it should nevertheless decline to reinstate the RICO claims against Viktor Khrapunov for

the reasons stated in our motion to dismiss the Amended Crossclaims. See ECF No. 232 at 13-

17. Because it had already dismissed the RICO claims by the time it ruled on the Khrapunovs’

motion to dismiss, the Court did rule on those arguments. See ECF No. 426 at 19.

                                         CONCLUSION

For all of the above reasons, defendants Viktor and Ilyas Khrapunov respectfully request that the

Court deny BTA/Almaty’s motion for relief from the December 23, 2016 Order.

Dated: February 23, 2018
       New York, New York

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